

Parkison v KBM Mgt., Inc. (2022 NY Slip Op 02683)





Parkison v KBM Mgt., Inc.


2022 NY Slip Op 02683


Decided on April 22, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 22, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, NEMOYER, AND CURRAN, JJ.


271CA 21-00286

[*1]LISA PARKISON, AS CHAIR OF WAYNE FINGER LAKES SCHOOL WORKERS' COMPENSATION PLAN, PLAINTIFF-RESPONDENT,
vKBM MANAGEMENT, INC., DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






GOLDBERG SEGALLA LLP, ROCHESTER, RIVKIN RADLER LLP, UNIONDALE (EVAN H. KRINICK OF COUNSEL), FOR DEFENDANT-APPELLANT.
WOODS OVIATT GILMAN LLP, ROCHESTER (ANDREW J. RYAN OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Wayne County (J. Scott Odorisi, J.), entered February 18, 2021. The judgment awarded plaintiff money damages. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of J.F. Braun &amp; Sons [Melo] , 68 AD2d 831, 831 [1st Dept 1979]).
Entered: April 22, 2022
Ann Dillon Flynn
Clerk of the Court








